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SANDRA K. WEBB,
Plaintil`f,
NO. 05-1187 T/An

VS.

DAVID L. WOOLFORK,

"/\_/W\,/\_/\_/‘\_/\_/\_/

Defendant.

 

ORDER DENYING MOTION TO RECUSE

 

Before the Court is Plaintiff" s Motion for Change of Venue filed on July 5, 2005. Within
the Motion to Change Venue is a Motion for the Undersigned to recuse himself from this matter.
The Court held a hearing on this matter on August 2, 2005 . At the hearing, Plaintiff announced
that she was withdrawing her request that the Undersigned recuse himself; therefore, the Motion
to Recuse is DENIED as moot.

Prior to her announcement that she was withdrawing the motionJ the Court examined
Plaintif`f. Plaintif`f` stated that she contacted an attorney by telephone who was briefly associated
with the law firm formerly owned by the Undersigned (“Anderson Law Firm, PLLC”), and
Plaintiff requested information and advice concerning a lawsuit that was pending in late 1999 or
early 2000 in which she was a defendant However, Plaintiff did not employ the attorney and
subsequently retained an attorney not associated with Anderson Law Firm, PLLC to represent her
in the matter. ln that the Undersigned has no recollection of the attorney ever discussing

Pltiniff”s matter with him and has no independent knowledge or information about the matter,

This document entered en the docket sheet in compliance

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there is no basis from which an objectively reasonable person would conclude that the
Undersigned could not discharge his duties in this matter in a fair and impartial manner.
Therefore, recusal is not appropriate in this situation

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Ld(;gj' 506 ZOOJ/

   

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 7 in
case 1:05-CV-01187 was distributed by f`aX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Sandra K. Webb
PO Box 1451
Jackson, TN 38302

Honorable J ames Todd
US DISTRICT COURT

